Case 5:23-cr-00188       Document 305-2       Filed 07/02/25     Page 1 of 1 PageID #: 1845



Dear, Your Honor,

  My name is Colton Walls, I met Mark through work around four years ago. Mr. Holdren was
one of my helpers while I was a Foreman for Jason Harry Electrical. Mark was a very
exceptional employee and morale was very high when he was around and having him on
any site made the days go by much faster. He always talked about his two kids, Konnor and
Haley. He would talk about how proud he was of both of them, how Konnor was a
professional fisherman at the dock he worked at, and how Haley was doing great in college.
He would always work overtime for me whenever it got close to either one coming into town
or getting to see them. He would always talk about taking them to dinner or trying to get
them the perfect Christmas gifts, or brag on how they did good hunting deer for the year.
  Mark would do anything for his mother and his family, I know he was helping his mother
with their bills and rent. He would always make it to work to provide anything they needed.
His truck broke down once and his mother let him use her car just so he wouldn't miss a
day of work. Mark was always there to jump in no matter what we were doing, from pulling
wire, to climbing into tight ceilings to run pipe or hang lights. I truly believe the man had no
downsides as a employee or a friend to me. We never got the chance to spend time
together outside of work but we did share lunch and take turns buying breakfast every
morning. We talked about everything under the sun on our breaks from Nascar, to jacked up
trucks, to our families.
   I believe Mark knows a mistake has been made. He was a genuinely nice fellow with no
downsides. I know he couldn't be without his family. I believe only two things ever went
through his mind, work and his kids. He had to have been an amazing father because, if he
put as much effort into being a parent as he did work, he had to be a great man.

Thank you for your time,
Colton Walls
